Case 5:11-cv-01846-LHK Document 1024-12 Filed 06/01/12 Page 1 of 4




                     Exhibit 10
Case 5:11-cv-01846-LHK Document 1024-12 Filed 06/01/12 Page 2 of 4
Case 5:11-cv-01846-LHK Document 1024-12 Filed 06/01/12 Page 3 of 4
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